   Case 1:23-cv-05924-JGLC-SDA                Document 25    Filed 12/27/23     Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                      12/27/2023
 Arthur Lamar Brown,
                                                             1:23-cv-05924 (JGLC) (SDA)
                                 Plaintiff,

                   -against-                                 ORDER

 The City of New York, et al.,

                                 Defendants.



STEWART D. AARON, United States Magistrate Judge:

       On December 27, 2023, Defendant City of New York filed a Letter Motion, responding to

the Court’s Valentin Order (8/17/23 Order, ECF No. 9) and requesting that the Court compel

Plaintiff to execute releases pursuant to § 160.50 and HIPPA (the “Releases”). (12/27/23 Ltr.

Mot., ECF No. 24.) The Court, having reviewed the Letter Motion, hereby ORDERS as follows:

           1. Consistent with the Court’s November 29, 2023 Order (see 11/29/23 Order, ECF

              No. 20), no later than February 22, 2024, Plaintiff shall file an Amended Complaint

              naming all defendants against whom he is asserting claims. Plaintiff is cautioned

              that the Amended Complaint will completely replace the present Complaint and,

              therefore, he must include all claims against any proper defendants he seeks to

              pursue in the Amended Complaint and shall include factual allegations concerning

              the challenged conduct pertaining to each defendant named.

           2. No later than February 22, 2024, Plaintiff shall execute and return the Releases to

              the Law Department.
   Case 1:23-cv-05924-JGLC-SDA            Document 25        Filed 12/27/23   Page 2 of 2




         3. Plaintiff’s failure to comply with this Order may lead to a recommendation that

              this case be dismissed for failure to prosecute.

         4. The Clerk of Court is respectfully requested to remove the gavel at ECF No. 24.

SO ORDERED.

Dated: New York, New York
       December 27, 2023

                                                ______________________________
                                                STEWART D. AARON
                                                United States Magistrate Judge




                                               2
